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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

                         CIVIL ACTION No. 20-10118-RGS

                                   BIOPOINT, INC.

                                            v.

            ANDREW DICKHAUT and CATAPULT STAFFING, LLC
                 d/b/a CATAPULT SOLUTIONS GROUP

                               AMENDED JUDGMENT

STEARNS, D.J.

Consistent with the court’s Findings of Fact, Rulings of Law, and Order after a Bench
Trial [Dkt # 227], it is ORDERED and ADJUDGED:

          The court finds that defendant Catapult was unjustly enriched by the sum of
           $1,322,792 by defendant Dickhaut’s misappropriation of BioPoint’s trade
           secrets.

          The court finds that Dickhaut and Catapult’s conduct also violated the
           Massachusetts Fair Business Practices Act, Gen. Laws ch. 93A.

          The court finds that defendants’ conduct was knowing and willful.

          The court in its discretion awards treble damages to plaintiff BioPoint for a
           total sum of $4,904,376 to be paid by Catapult.

          The court further determines that BioPoint is entitled to an award of
           reasonable costs in the amount of $ 24,290.27 and attorneys’ fees in
           the amount of $2,503,457 to be paid by Catapult.

          The court further determines that BioPoint is entitled to an award of
           prejudgment interest in the amount of $122,279 and postjudgment
           interest, applying the federal interest rate to the entire judgment,
           including awarded attorneys’ fees and costs, to accrue from the date
           of the district court’s original judgment (April 26, 2023) to be paid
           by Catapult.

Date: 11/18/2024                                               /s/Jacqueline Martin

                                                               Deputy Clerk
